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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


     Mahmoud KHALIL,

                       Petitioner,
           v.

     Donald J. TRUMP, in his official capacity as
     President of the United States; William P.
     JOYCE, in his official capacity as Acting
     Field Office Director of New York,
     Immigration and Customs Enforcement; 1
     Caleb VITELLO, Acting Director, U.S.             No. 25-cv-1963-MEF-MAH
     Immigration and Customs Enforcement;
     Kristi NOEM, in her official capacity as         [PROPOSED] ORDER
     Secretary of the United States Department of
     Homeland Security; Marco RUBIO, in his
     official capacity as Secretary of State; and
     Pamela BONDI, in her official capacity as
     Attorney General, U.S. Department of
     Justice,

                       Respondents.


          This matter is before the Court on the Petitioner’s Motion for Preliminary

 Injunction. Upon review of the Petitioner’s submissions, argument, and evidence,

 and applicable authority, the motion is GRANTED.


  IT IS HEREBY ORDERED that:



 1
  Respondent Yolanda Pittman, in her official capacity as Warden of Elizabeth
 Contact Detention Facility, will be added.
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    (1) Respondents shall release Petitioner Mahmoud Khalil for the pendency of

       this litigation;

    (2) Respondent Secretary of State Marco Rubio’s determination that Section

       237(a)(4)(C)(i) of the Immigration and Nationality Act, the Foreign Policy

       Ground, applies to Petitioner Mahmoud Khalil is preliminarily enjoined for

       the pendency of this litigation; and


    (3) Respondents are enjoined from enforcing their Policy of arresting, detaining,

       and removing noncitizens who engage in constitutionally protected expressive

       activity in the United States in support of Palestinian rights or critical of Israel

       for the pendency of this litigation.



 IT IS SO ORDERED, this _______ day of __________________,2025.




                                       Hon. Michael E. Farbiarz, U.S.D.J.
